     Case 1:15-cr-00077-JRH-BKE Document 15 Filed 08/18/15 Page 1 of 2




                 IN THE UNITEDSTATESDISTRICTCOURT             u',?ifJlb,ffol
                    SOUTIIERNDISTRICTOF GEORGIA
                          AUGUSTADIVISION

UNITED STATES OF AMERICA                                     CL
                                             Indictment No. CRl l5-77
V.

MELVINHOWARI)                                21 U.S.C.846
                                             Conspiracyto Distribute and
GEORGE CARTER                                PossessWith Intent To Distribute
                                             Controlled Substances
JEROMEFLOURNOY
                                             2l U.S.C.8a1(aX1)
GABRIEL LAKES                                Distribution of
                                             Controlled Substances
DEONJOHNSON
                                             21U.S.c.8ar(aXt)
BRANDON CHARLES WRIGHT aka                   Possession With Intent to
"BRAN"                                       Distribute Controlled Substances

HENRY LEE WASHINGTON aka                     21 U.S.C.843(b)
*BEAVERDOG"                                  Useof a CommunicationFacility
                                             in the Commissionof a Felony
TREYMCCLENDON
                                             18u.s.c.S922(gX1)
CHARVIS LAWRENCE                                      of a Firearm by a
                                             Possession
                                             ConvictedFelon
TIMOTIfY ANDRE WELLS aka (DRED

VINCENT COLLEY

JOHI{I\IY BMNS   aka "KICKABO0"

DOUGLAS MATTHEW POWELL aka
"POOH"

EUGENE MICHA-EL GROSS

KENNYDANFORD

MICHAEL SASSNETT
      Case 1:15-cr-00077-JRH-BKE Document 15 Filed 08/18/15 Page 2 of 2




                                UNSEALING ORDER

             Upon application of the United StatesAttomey, by and through, Patricia Green

Modes AssistantUnited StatesAttomey, the Motion to Unseal Indictment and penalty

                                        caseis herebyGRANTED.
certificationfiled in the above-referenced

             rnis l3S    aayofAugust,
                                   2015.




                                           BRIAN K. EPP
                                           LTNITEDSTATESMAGISTRATEJUDGE
                                           SOUTHERN DISTRICTOFGEORGIA
